Case 2:20-cv-02291-DOC-KES Document 301 Filed 05/12/21 Page 1 of 1 Page ID #:7940




                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

                            CIVIL MINUTES – GENERAL

   Case No. LA CV 20-02291-DOC (KESx)                               Date: May 12, 2021

    Title:   LA ALLIANCE FOR HUMAN RIGHTS, ET AL V CITY OF LOS
             ANGELES, ET AL


  PRESENT:        THE HONORABLE DAVID O. CARTER, JUDGE

                  Not Present                                    Austin Che - Veritext
                  Court Clerk                                    Court Recorder


  PROCEEDINGS: (IN CHAMBERS)

         The Court orders the transcript of the a.m. session of the Status Conference held
  on April 14, 2020 at Los Angeles City Hall be immediately produced at government
  expense and billed at the 14-day rate. The transcript shall be prepared forthwith and filed
  on the docket with immediate release to the public.




  MINUTES FORM 11                                                Initials of Deputy Clerk: djl
  CIVIL-GEN
